               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                           1:08 cr 63-2 - 1:08 cr 63-4
                           1:08 cr 63-6 - 1:08 cr 63-8


UNITED STATES OF AMERICA,                )
                                         )
Vs.                                      )                   ORDER
                                         )
2) EVER SANTIAGO SANTOS DE LA CRUZ, )
4) PEDRO FREY HUERTA,                    )
6) NICHOLAS HUERTA OCHOA, and            )
8) LAURA HERNANDEZ ROMERO,               )
                                         )
                  Defendants.            )
________________________________________ )


      THIS MATTER came on to be heard before the undersigned, pursuant to a

Notice of Appearance (#42) filed by Gregory A. Newman, attorney of

Hendersonville, NC giving notice of his appearance as attorney for the defendant

Ever Santiago Santos De La Cruz, a motion (#41) filed by Mr. Newman to withdraw

as appointed counsel for the defendant Pedro Frey Huerta and a Notice of Appearance

(#43) of Mr. Newman on behalf of the defendant Nicholas Huerta Ochoa. It

appearing at the call of this matter on for hearing that Clinton L. Rudisill, attorney of

Marshall, NC who had been appointed to represent Mr. DeLa Cruz, was not present.

Mr. Newman, who had been appointed to represent Pedro Frey Huerta, was present

and that attorney Renae Alt-Summers of Hendersonville, NC had filed a Notice of

Appearance (#33) giving notice that she had been retained to represent the defendant



       Case 1:08-cr-00063-MR Document 93 Filed 06/23/08 Page 1 of 10
Pedro Frey Huerta and that Ronald C. True, attorney of Asheville, NC who had been

appointed to represent the defendant Nicholas Huerta Ochoa, was present. Also

present was Jason Hayes, attorney of Hendersonville, NC who had been appointed

to represent the defendant Laura Hernandez Romero.

      From a preliminary review of these files, there appeared to be a potential for

a conflict of interest to exist in regard to the representation by Mr. Newman of Mr.

DeLa Cruz and Mr. Ochoa in that they were co-defendants with each other. A further

conflict of interest appeared to exist due to the fact that Mr. Newman had been

appointed to represent, and had appeared on behalf of, Mr. Huerta. Finally, a third

conflict of interest appeared to exist due to the fact that Mr. Hayes and Mr. Newman

may have been law partners at the time Mr. Hayes was appointed to represent Ms.

Romero. From the records in this cause and the arguments presented by Tom Ascik,

Assistant United States Attorney and from Mr. Newman and Mr. Hayes, the court

makes the following findings:

      Findings.    On May 16, 2008 a Criminal Complaint was issued in which the

defendants Pedro Frey Huerta, Nicholas Huerta Ochoa, Laura Hernandez Romero and

Ever Santiago Santos De La Cruz were charged with conspiracy to possess with intent

to distribute methamphetamine, a schedule II controlled substance. At the initial

appearance hearing for the defendants, each defendant requested the appointment of

                                         2


      Case 1:08-cr-00063-MR     Document 93    Filed 06/23/08   Page 2 of 10
counsel. After considering the affidavits filed by each defendant, the undersigned

found that Mr. De La Cruz, Mr. Huerta, Mr. Ochoa and Ms. Romero were each

indigent and directed that the Federal Defenders Office appoint counsel for them.

Clinton L. Rudisill, attorney of Marshall, NC was appointed to represent Mr. De La

Cruz. Mr. Newman was appointed to represent Pedro Frey Huerta; Ronald C. True,

attorney of Asheville, NC was appointed to represent Mr. Ochoa and Jason Hayes,

attorney of Hendersonville, NC was appointed to represent the defendant Laura

Hernandez Romero. Each counsel appeared before the undersigned and stated that

each individual client wished to waive a preliminary hearing. Each counsel requested

that the detention hearing for each defendant be continued and each defendant was

detained pending a request for a detention hearing. On June 3, 2008 a bill of

indictment was issued in which Mr. De La Cruz, Mr. Huerta, Mr. Ochoa and Ms.

Romero were all indicted, along with other defendants and charged with conspiracy

to possess with intent to distribute methamphetamine and a separate count of

knowingly and intentionally using a communication facility in facilitating the

conspiracy.

      On June 9, 2008, Mr. Newman filed a Notice of Appearance (#42) for Mr. De

La Cruz and a Notice of Appearance (#43) for Mr. Ochoa and a Motion to Withdraw

as Counsel (#41) for Mr. Huerta. In the motion to withdraw, Mr. Newman referenced

                                         3


      Case 1:08-cr-00063-MR Document 93 Filed 06/23/08 Page 3 of 10
that he was a member of the law firm of Blanchard, Newman & Hayes, which

included Jason Hayes, who was the attorney appointed to defend Ms. Romero. After

examining the files in this matter and before the arraignment, the undersigned was of

the opinion that Rule 44(c) of the Federal Rules of Criminal Procedure should be

followed by the court to investigate whether or not there was a joint representation

and a conflict of interest that might exist in regard to the representation proposed by

counsel in this matter.

      The undersigned first addressed the case involving Ms. Romero and advised

Ms. Romero of her right to a conflict free representation and the importance of such

a conflict free representation. Mr. Hayes and Mr. Newman told the undersigned that

their partnership had been dissolved in March of 2008 and Mr. Hayes had, from that

time, practiced law as a sole practitioner in Hendersonville, NC. Mr. Hayes assured

the court there was not any type of conflict of interest that could now exist in regard

to his representation of Ms. Romero. The court finds that Mr. Hayes can provide an

independent and conflict free representation for Ms. Romero.

      The undersigned then conducted a further hearing and advised Mr. De La Cruz,

Mr. Huerta and Mr. Ochoa of their rights to a conflict free representation. After

advising them as to their right to effective assistance of counsel, which included

separate representation by an attorney for each defendant, Mr. Huerta told the

undersigned that he did not object to Mr. Newman being allowed to withdraw from

                                        4
      Case 1:08-cr-00063-MR       Document 93     Filed 06/23/08    Page 4 of 10
his case, even though Mr. Newman had represented him previously in the same case.

He also stated that he did not object to Mr. Newman representing Mr. De La Cruz or

Mr. Ochoa. Mr. De La Cruz and Mr. Ochoa told the court that they would waive their

right to a conflict free representation. Both Mr. De La Cruz and Mr. Ochoa desired

that Mr. Newman represent them jointly in the case. During questioning by the

undersigned the court discovered each one of these three defendants are related to

each other by either blood or marriage with one being a cousin of another and one

being the brother-in-law of another. None of the defendants presented any written

document certifying an informed consent to the representation proposed by the

defendants and Mr. Newman.

      Discussion. Rule 44 of the Federal Rules of Criminal Procedure provides as

follows:

      (c)   Inquiry Into Joint Representation.

            (1)   Joint Representation. Joint representation occurs when:

                  (A) two or more defendants have been charged jointly
                  under Rule 8(b) or have been joined for trial under Rule
                  13; and
                  (B) the defendants are represented by the same counsel,
                  or counsel who are associated in law practice.

            (2)   Court’s Responsibilities in Cases of Joint Representation.

                  The court must promptly inquire about the propriety of
                  joint representation and must personally advise each

                                        5


      Case 1:08-cr-00063-MR          Document 93         Filed 06/23/08        Page 5 of 10
                    defendant of the right to the effective assistance of counsel,
                    including separate representation. Unless there is good
                    cause to believe that no conflict of interest is likely to arise,
                    the court must take appropriate measures to protect each
                    defendant’s right to counsel.

      The factual situation circumscribed by Rule 44(c) of the Federal Rules of

Criminal Procedure exists in this case. The defendants De La Cruz and Ochoa have

now both retained Mr. Newman to represent them. Both Mr. De La Cruz and Mr.

Ochoa had been charged jointly. If Mr. Newman was allowed to represent those

defendants, they were going to be represented by the same attorney creating a conflict

of interest and a lack of independent effective counsel. To further complicate the

matter, Mr. Newman has been representing Mr. Huerta and thus could have received

from Mr. Huerta either confidential documents or information which would add to the

conflict of interest in this matter. This court painstakingly reviewed each of the rights

regarding a conflict free representation with Mr. De La Cruz, Mr. Huerta and Mr.

Ochoa. Mr. Huerta told the undersigned that he did not object to Mr. Newman being

allowed to withdraw and for Mr. Newman to be allowed to represent Mr. De La Cruz

and Mr. Ochoa. Mr. De La Cruz and Mr. Ochoa both wanted Mr. Newman to

represent them despite the fact that they would clearly not receive a conflict free

representation. As a result, the undersigned is faced with a balancing of a right of a

defendant to be represented by counsel of his choice with the fact there would clearly


                                            6


       Case 1:08-cr-00063-MR Document 93 Filed 06/23/08 Page 6 of 10
be an actual conflict of interest caused by Mr. Newman’s representation by his

proposed withdrawal from representation of Mr. Huerta and his proposed

representation of both Mr. De La Cruz and Mr. Ochoa. The Sixth Amendment

guarantees a defendant the right to be represented by an otherwise qualified attorney

whom that defendant can afford to hire or who is willing to represent the defendant,

even though he is without funds. U.S. vs. Gonzalez-Lopez, 548 U.S. 140 (2006)

However, there are limitations upon such a right and a court may decline a proffer of

a waiver of right to a conflict free representation and insist that defendants be

separately represented. Wheat vs. United States, 486 U.S. 153 (1988) In Wheat,

Chief Justice Renquist stated:

      Unfortunately for all concerned, a district court must pass on the issue
      whether or not to allow a waiver of a conflict of interest by a criminal
      defendant not with the wisdom of hindsight after the trial has taken
      place, but in the murkier pre-trial contest when relationships between
      parties are seen through a glass, darkly. The likelihood and dimensions
      of nascent conflicts of interest are notoriously hard to predict, even for
      those thoroughly familiar with criminal trials. It is a rare attorney who
      will be fortunate enough to learn the entire truth from his own client,
      much less be fully apprised before trial of what each of the
      government’s witnesses would say on the stand. A few bits of
      unforeseen testimony or a single previously unknown or unnoticed
      document may significantly shift the relationship between multiple
      defendants. These imponderables are difficult enough for a lawyer to
      assess, and even more difficult to convey by way of explanation to a
      criminal defendant untutored in the niceties of legal ethics.

      For these reasons, we think the district court must be allowed substantial
      latitude in refusing waivers of conflict of interest, not only in those rare

                                           7


      Case 1:08-cr-00063-MR      Document 93     Filed 06/23/08    Page 7 of 10
      cases where an actual conflict may be demonstrated before trial, but in
      the more common cases where a potential conflict exist which may or
      may not burgeon into an actual conflict as the trial progresses.

      Rule 1.7 of the North Carolina Rules of Professional Conduct states as follows:



      (a) Except as provided in paragraph (b), a lawyer shall not represent
      a client if the representation involves a concurrent conflict of interest.
      A concurrent conflict of interest exists it:

      (1)   the representation of one client will be directly adverse to another
            client; or
      (2)   the representation of one or more clients may be materially
            limited by the lawyer’s responsibilities to another client, a former
            client, or a third person, or by a personal interest of the lawyer.

      (b) Notwithstanding the existence of a concurrent conflict of interest
       under paragraph (a), a lawyer may represent a client if:

      (1)   the lawyer reasonably believes that the lawyer will be able to
            provide competent and diligent representation to each affected
            client;
      (2)   the representation is not prohibited by law;
      (3)   the representation does not involve the assertion of a claim by one
            client against another client represented by the lawyer in the same
            litigation or other proceeding before a tribunal; and
      (4)   each affected client gives informed consent, confirmed in writing.

      It appears to the undersigned, without any doubt, that numerous and multiple

conflicts of interest exists in regard to the representation proposed by Mr. Newman

and the defendants in this case. To allow Mr. Newman to represent Mr. De La Cruz

and Mr. Ochoa and withdraw from the representation of Mr. Huerta has the potential


                                          8


      Case 1:08-cr-00063-MR     Document 93     Filed 06/23/08   Page 8 of 10
to cause all three defendants multiple problems with the effective assistance of

counsel as this case progressed. These conflicts of interest must be addressed now

to prevent future problems with the representation of the defendants.             The

undersigned is of the opinion that the only way that the rights of each defendant to

a conflict free representation can be protected is by entering an order which provides

that each defendant must be represented by completely independent counsel. Only

by taking such action can the rights of each defendant be adequately protected .

      Nothing in this Order should be construed as in any way impinging upon the

competence, integrity or personal ability of Mr. Newman whom this court holds in

its highest regard. Mr. Newman is an attorney of excellent abilities. However, the

conflicts of interest in this matter that already exist will, in the opinion of the

undersigned, only magnify in the future. To protect each defendant, the undersigned

will enter an order providing for independent counsel for all three defendants.

                                      ORDER

      IT IS, THEREFORE, ORDERED that:

      1)     The Motion to Withdraw (#41) filed by Mr. Newman to withdraw as

counsel for the defendant Pedro Frey Huerta is hereby ALLOWED. Attorney Renae

Alt-Summers who has filed a Notice of Appearance on behalf of Mr. Huerta shall

continue to represent him in this matter unless the defendant retains other


                                          9


      Case 1:08-cr-00063-MR            Document 93          Filed 06/23/08         Page 9 of 10
independent counsel;

      2)     The Notice of Appearance (#42) of Mr. Newman on behalf of the

defendant Ever Santiago Santos De La Cruz is hereby DENIED and it is ORDERED

that Mr. Rudisill shall continue to represent the defendant De La Cruz in this matter

unless the defendant retains other independent counsel; and

      3)     The Notice of Appearance (#43) filed by Mr. Newman on behalf of the

defendant Nicholas Huerta Ochoa is hereby DENIED and it is ORDERED that Mr.

True shall continue to represent the defendant in this matter unless the defendant

retains other independent counsel.



                                         Signed: June 23, 2008




                                         10


      Case 1:08-cr-00063-MR     Document 93     Filed 06/23/08   Page 10 of 10
